Case: 3:21-cv-50435 Document #: 1 Filed: 11/12/21 Page 1 of 15 PagelD #:1

Pro Se 14 (Rev, 12/16) Complaint for Violation of Civil Rights (Prisoner)

UNITED STATES DISTRICT COURT

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THOMAS Seip cour ) Ca Judge lain D. Johnston
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ER 8 ) Magistrate Judge Lisa A. Jensen
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(Write the full name of each plaintiff whe ts filing this complaint. fertrizion Cov Wer T of ffeudamus attel /ow
if the names of all the plaintiffs cannot fit in the space above, ) Request fer immectiare Declarata ry
please write “see attached” in the space and attach an additional ) tT. ucly eut asking The Court Te rule au hie.
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) Case with mation toc aqui rial
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Srate of Fiiinois __ )
Defendant(s) )
(Write the fidl name of each defendant who is being sued. If the )
names of all the dejendanis cannot fit in the space above, please )

write “see attached” in the space and atiach an additional page
with the full list ofnames. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should wor contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may inciude ory: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

 

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name

All other names by which

you have been known:

ID Number

Current Institution
Address

B. The Defendant(s)

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Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (known) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. |
Name
Job or Title (if krown)
Shield Number
Employer
Address

Defendant No. 2
Name
Job or Title (if krown)
Shield Number
Employer
Address

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

Il.

Defendant No. 3

 

 

 

 

 

 

 

 

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Job or Title (ifknown) _¢G GT ATS Neon wey 6 Ag: oe
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[ | Individual capacity a] Official capacity
Defendant No. 4
Name
Job or Title (if rows)
Shield Number
Employer
Address

 

 

 

 

 

 

City State Zip Code
[| Individual capacity [ | Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws]. Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A,

Are you bringing suit against (check alf that apply):
(i) Federal officials (a Bivens claim)

1 State or local officials (a § 1983 claim)

 

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by

the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what

federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
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Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. [f you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials? AL
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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

III.

IV.

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Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. [f you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.
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Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

LI

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Pretrial detainee

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner

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Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A.

B.

If the events giving rise to your claim arose outside an institution, describe where and when they arose.

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If the events giving rise to your claim arose in an institution, describe where and when they arose.

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Pro Se 14 (Rev, 12/16) Complaint for Violation of Civil Rights (Prisoner)

VI.

C. What date and approximate time did the events giving rise to your claim(s) occur?
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D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?) pup a
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Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

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Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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Pro Se 14 (Rev. 12/16) Complain for Violation of Civil Rights (Prisoner)

VIL.

Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[n]Jo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

[ | Yes

 

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

[| Yes
[| No

[_] Do not know

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Does the grievance procedure at the jail. prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

[| Yes
L] No fi, A,
[1 Do not know

If yes, which claim(s)?

 

 

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Pro Se 14 (Rev, 12/16) Complaint for Violation of Civil Rights (Prisoner)

D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

[| Yes A athe
L] No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

[| Yes
[ | No

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E. If you did file a grievance:

1. Where did you file the grievance?

 

 

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2. What did you claim in your grievance?
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3. What was the result, if any?

 

NA:

4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts ta appeal to the highest level af the grievance pracess.)

MV, A,

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Pro Se 14 (Rev, 12/16) Complaint for Violation of Civil Rights (Prisoner)

F. If you did not file a grievance:

1. If there are any reasons why you did not file a grievance, state them here:

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If you did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:
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G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.
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(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VUI. Previous Lawsuits
The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule’?

[ ] Yes
eal No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

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Pro Se 14 (Rev. 12/16} Complaint for Violation of Civil Rights (Prisoner)

A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action? . -
AS Z Judlersranol ir, This (5 not @ Suit} Therefore, Prise SuiTs clo uct
Yes arpely
L] No
B. If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (if there is

more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

 

 

2. Court (if federal court, name the district; if state court, name the county and State)

 

3. Docket or index number

 

4, Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

6. Is the case still pending?

[| ves
[| No

If no, give the approximate date of disposition.

 

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

 

Cc. Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

LC] Yes
[-] No

D. If your answer to C is yes, describe each lawsuit by answering questions | through 7 below. (if there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format)

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

 

 

2. Court (if federal court, name the district; if state court, name the county and State)

 

3. Docket or index number

 

4. Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

6. Is the case still pending?

[| Yes
[] No

If no, give the approximate date of disposition

 

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

 

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Pra Se 4 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

IX.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. | understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

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Date of signing: (D+ 25> Zo2|

 

 

 

 

 

 

 

 

 

 

 

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B. For Attorneys

Date of signing:
Signature of Attorney
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